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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


 UNITED STATES SCHOOLS                         )
 OF GOLF, INC.,                                )
                                               )
                     Plaintiff,                )
                                               )
       v.                                      )   CASE NO.1:05-cv-0313-DFH-TAB
                                               )
 BILTMORE GOLF, INC. d/b/a                     )
 NATIONAL GOLF SCHOOLS and                     )
 BILTMORE GOLF, INC. d/b/a                     )
 NATIONAL GOLF SCHOOL,                         )
 PATRICK LIVINGSTON, Individually              )
 and in his capacity as Chief Executive        )
 Officer,                                      )
                                               )
                     Defendants.               )


                 ENTRY ON DEFENDANTS’ MOTION TO DISMISS


       Plaintiff United States Schools of Golf, Inc. (“USSOG”), an Indiana

 corporation, has filed suit against defendants Patrick Livingston and two

 corporations of which he is a majority owner, Biltmore Golf, Inc. and National Golf

 Schools, Inc. Both defendant corporations are Florida corporations and have their

 principal offices in Florida. Livingston is a professional golfer and is also a Florida

 resident and citizen.



       USSOG alleges that it had a contractual relationship with the corporate

 defendants for several years during which USSOG referred customers to

 defendants’ golf schools at various resorts. USSOG would collect money from the
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 customers for the full price of the schools and would forward money on to

 defendants, keeping a percentage as a fee for USSOG’s services. USSOG alleges

 that defendants damaged its nationwide reputation and customer goodwill by

 failing to provide promised services to the referred customers and by publishing

 misleading information about defendants’ services.



       All defendants have moved to dismiss for lack of personal jurisdiction and

 improper venue.    Defendant Livingston has also moved to dismiss USSOG’s

 complaint for failure to state a claim upon which relief could be granted against

 him as an individual. As explained below, defendants’ motion to dismiss is denied

 on the issues of personal jurisdiction and improper venue, as well as on the

 claims against defendant Livingston, except that dismissal is granted on the

 breach of contract claim against Livingston as an individual.



                               Facts and Allegations


       The factual record before the court is sparse.     It consists of USSOG’s

 amended complaint, an affidavit from USSOG’s Mitchell Crum, some deposition

 testimony from Livingston, several e-mails, and some discovery responses.

 Defendants have not submitted evidence to support any part of their motion.

 Accordingly, the factual statements in this entry take plaintiff’s allegations and

 evidence at face value.




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       Plaintiff USSOG is an Indiana corporation that provides golf instruction and

 related products and services. Its principal place of business is in Richmond,

 Indiana. USSOG alleges that it advertises and provides services to customers

 across the United States. Defendant Biltmore Golf, Inc. is a Florida corporation

 with its principal place of business in Belleair, Florida. National Golf Schools, Inc.

 is also a Florida corporation with the same principal office. Both corporations do

 business under the name “National Golf Schools,” which is the term the court

 uses to describe both corporations collectively here. Livingston is an owner,

 officer, and instructor for both corporations. He resides in Clermont, Florida.



       National Golf Schools operates golf instruction programs in several states,

 but not Indiana. In the last five years, it has taught about five to ten Indiana

 residents, but the record does not show how many of those students were referred

 by USSOG. National Golf Schools has not advertised in a nationally circulating

 publication in several years. However, it advertises to golfers throughout the

 country via its website, www.nationalgolfschools.com. National Golf Schools hires

 an outside firm to manage its web marketing. A client testimonial by “Sam S.”

 from Bloomington, Indiana appears on its website.



       Beginning no later than 2002, USSOG has had an ongoing business

 relationship with National Golf Schools whereby USSOG refers golfers to National

 Golf Schools for golf instruction and related services. In exchange, USSOG keeps

 a percentage of the fees that it collects from customers and sends to National Golf


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 Schools.    USSOG alleges that the parties have established a contractual

 relationship. Although the record is not as clear as one might hope, it appears

 that USSOG referred some fifteen to twenty customers to National Golf Schools

 over the last two years of the relationship. See Livingston Dep. at 16.1



       Through their business relationship, USSOG and National Golf Schools

 were in contact about eight to eleven times per year. Livingston acknowledges

 that he personally has made telephone calls and has sent e-mails and faxes to

 USSOG concerning their business relationship. He also admits that National Golf

 Schools has made telephone calls and has sent e-mails and faxes to USSOG in

 Indiana.



       Livingston has taught some USSOG customers on behalf of National Golf

 Schools, but he has not taught any customers in Indiana. About fifteen years ago,

 he worked as head golf professional of a country club in Indiana. At that time, he

 lived in Kentucky. He has traveled to Indiana only a handful of times in the last

 ten years, most recently two to four years ago to play golf recreationally.



       In this suit, USSOG alleges that defendants accepted referral customer

 reservations and payment for golf schools and services but failed to provide those

 services.   USSOG also alleges that defendants made false and misleading


       1
          During Livingston’s deposition, the questioner asked if there had been
 between 15 and 20 such customers, and Livingston responded: “It could be a
 little less than that. I don’t have that right in front of me.”

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 representations on their website, implying that their services and their golf

 professionals were more highly credentialed than in fact they are.



       USSOG alleges that defendants’ conduct has caused dissatisfaction among

 some of its referred customers and required it to refund their payments. USSOG

 also alleges that defendants’ conduct has damaged USSOG’s reputation and

 customer goodwill.



       USSOG brings claims against defendants under the federal Lanham Act, 15

 U.S.C. §§ 1116, 1117, 1125(a)(1), and Indiana common law.         The court has

 subject matter jurisdiction pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331,

 1332, and 1367.



                                    Discussion


 I.    Personal Jurisdiction


       All defendants have moved to dismiss for lack of personal jurisdiction

 pursuant to Federal Rule of Civil Procedure 12(b)(2). Defendants point out that

 the complaint did not allege a basis for personal jurisdiction, but a complaint

 “need not include facts alleging personal jurisdiction.”       Purdue Research

 Foundation v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003), quoting

 Steel Warehouse of Wisconsin, Inc. v. Leach, 154 F.3d 712, 715 (7th Cir. 1998).

 Once a defendant has raised the issue by moving to dismiss, though, the plaintiff


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 must come forward with a basis for jurisdiction. Where a defendant fails to

 submit evidence supporting its motion, the court need not hold an evidentiary

 hearing, and the court must credit plaintiff’s allegations and affidavits. Id. at 783;

 RAR, Inc. v. Turner Diesel, Ltd., 107 F.3d 1272, 1275 (7th Cir. 1997).



       A federal district court exercising diversity jurisdiction has personal

 jurisdiction over a non-resident defendant only if a court of the state in which it

 sits would have such jurisdiction. Purdue Research, 338 F.3d at 779. The same

 standard applies to claims arising under federal statutes that do not authorize

 nationwide service of process. Search Force, Inc. v. Dataforce Intern., Inc., 112 F.

 Supp. 2d 771, 774 (S.D. Ind. 2000) (noting that Lanham Act does not authorize

 nationwide service of process under 15 U.S.C. § 1121(a)).



       Indiana Trial Rule 4.4(A) serves as Indiana’s long-arm statute. The current

 version of the Rule lists eight enumerated bases for jurisdiction and now includes

 the following language: “In addition, a court of this state may exercise jurisdiction

 on any basis not inconsistent with the Constitutions of this state or the United

 States.”   Thus, a plaintiff must show only that long-arm jurisdiction is

 constitutional. The parties have not argued that there is any difference between

 the federal and state constitutional standards, so the court applies federal due




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 process standards. See, e.g., Burger King Corp. v. Rudzewicz, 471 U.S. 462, 471-

 73 (1985).2



       Due process requires that a non-resident defendant have “certain minimum

 contacts with [the forum state] such that the maintenance of the suit does not

 offend ‘traditional notions of fair play and substantial justice.’” International Shoe

 Co. v. Washington, 326 U.S. 310, 316 (1945), quoting Milliken v. Meyer, 311 U.S.

 457, 463 (1940). Personal jurisdiction under Indiana Trial Rule 4.4(A) may be

 either general or specific. See Alpha Tau Omega v. Pure Country, Inc., 185 F. Supp.

 2d 951, 956 (S.D. Ind. 2002).        General jurisdiction makes a non-resident

 defendant amenable to suit within a particular forum, regardless of the subject

 matter of the suit, based on the defendant’s continuous and systematic contacts

 with the forum. See Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

 408, 414-15 (1984).      Specific jurisdiction makes a non-resident defendant

 amenable only to suits arising out of or related to the defendant’s contacts with

       2
        A panel of the Indiana Court of Appeals has suggested that Rule 4.4(A) still
 requires courts to determine first whether the defendant’s actions satisfy one of
 the enumerated acts and only then to conduct the due process inquiry. See Pozzo
 Truck Center, Inc. v. Crown Beds, Inc., 816 N.E.2d 966, 969 n.2 (Ind. App. 2004).
 This court disagrees with that view, and believes that the addition of the
 constitutional limits language in 2003 requires courts to perform only the
 constitutional analysis when jurisdiction is contested. See Engineered Medical
 Systems, Inc. v. Despotis, No. 1:05-cv-0170, 2005 WL 2922448, n.2 (S.D. Ind. Nov.
 4, 2005) (explaining this court’s view); see also In re Methyl Tertiary Butyl Ether
 (“MTBE”) Products Liability Litigation, 2005 WL 106936, *12-13 (S.D.N.Y. Jan. 18,
 2005) (disagreeing with Pozzo Truck and predicting that Indiana Supreme Court
 would follow the plain language of Rule 4.4(A)); Litmer v. PDQUSA.com, 326 F.
 Supp. 2d 952, 955 & n.3 (N.D. Ind. 2004) (stating, under the current version of
 Rule 4.4(A), that “the only issue is whether the exercise of jurisdiction . . .
 comports with federal due process”).

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 a particular forum. Id. at 414. Specific jurisdiction may be based on relatively

 modest contacts with the forum if they have a substantial connection to the

 plaintiff’s action. See Burger King, 471 U.S. at 474-76; RAR, Inc., 107 F.3d at

 1277; Anthem Insurance Cos. v. Tenet Healthcare Corp., 730 N.E.2d 1227, 1235

 (Ind. 2000).



       USSOG offers several contacts that it believes are sufficient to warrant

 personal jurisdiction over defendants in Indiana: entering a multi-year business

 relationship with an Indiana corporation; communicating with an Indiana

 corporation in Indiana; providing services to Indiana residents; maintaining a

 website available to Indiana residents; and quoting an Indiana customer’s tribute

 on that website.



       Defendants’ contacts with Indiana are obviously far too modest to support

 general jurisdiction. See Purdue Research, 338 F.3d at 787 (“the constitutional

 requirement for general jurisdiction is ‘considerably more stringent’ than that

 required for specific jurisdiction”), quoting United States v. Swiss American Bank,

 Ltd., 274 F.3d 610, 619 (1st Cir. 2001); see also Wilson v. Humphreys Ltd.,

 916 F.2d 1239, 1245 (7th Cir. 1990) (acknowledging general jurisdiction as a fairly

 high standard in practice). For general jurisdiction, contacts must be so extensive

 as to amount to a constructive presence in the state. Purdue Research, 338 F.3d

 at 787 & n.16. National Golf Schools provides golf instruction in several states,

 but Indiana is not one of those states. It does not maintain property or offices in


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 Indiana, nor does it actively advertise here. It has provided golf instruction to only

 five to ten Indiana residents in the last five years, thereby deriving only a small

 percentage of its revenue from Indiana customers. See Communications Depot, Inc.

 v. Verizon, 2002 WL 1800044, *5 (S.D. Ind. July 18, 2002) (insubstantial revenue

 from defendant’s sales to Indiana businesses did not amount to substantial,

 continuous, or systematic activity to satisfy general jurisdiction); cf. Anthem, 730

 N.E.2d at 1239 (stating that percentage of nationwide business conducted in

 Indiana is not the “only” or “dominant” factor).



       The fact that Indiana residents can access defendants’ website to purchase

 golf equipment and apparel is insufficient to subject it to general jurisdiction in

 the state. See InfoSys Inc. v. Billingnetwork.com, Inc., 2003 WL 22012687, *4 (N.D.

 Ill. Aug. 27, 2003) (“there is no case where general jurisdiction was conferred on

 the basis of an interactive website in the absence of non-website factors

 evidencing intent for a defendant’s product or website to reach a particular state”);

 see also Jackson v. The California Newspapers Partnership, 2005 WL 2850116, *2

 (N.D. Ill. Oct. 27, 2005) (“mere maintenance of an Internet website is generally not

 sufficient to exercise general jurisdiction”); Euromarket Designs, Inc. v. Crate &

 Barrel Ltd., 96 F. Supp. 2d 824, 833 (N.D. Ill. 2000) (same). And there is no

 evidence that Indiana residents comprise a sizeable percentage of National Golf

 Schools’ website traffic or purchases.




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        Defendant Livingston’s contacts with Indiana also fall far short of what is

  necessary to establish general jurisdiction. He does not own property in Indiana.

  Although he once worked in Indiana, he has never lived here. He has visited the

  state only a handful of times in the last ten years.



        For specific jurisdiction in a case of this type, due process requires that a

  non-resident defendant must have established its contacts with the forum state

  by purposefully availing itself of the privilege of conducting business there. Asahi

  Metal Industry Co., Ltd. v. Superior Ct. of Cal., 480 U.S. 102, 108-09 (1987); Logan

  Productions, Inc. v. Optibase, Inc., 103 F.3d 49, 52 (7th Cir. 1996).            “This

  ‘purposeful availment’ requirement ensures that a defendant will not be haled into

  a jurisdiction solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts.”

  Burger King, 471 U.S. at 475, quoting Keeton v. Hustler Magazine, Inc., 465 U.S.

  770, 774 (1984). In other words, a defendant’s conduct and connection with the

  forum state should be such that it should reasonably anticipate being haled into

  court there. Burger King, 471 U.S. at 474.



        At this stage, the precise nature of the parties’ business relationship is still

  unclear.   USSOG argues that it had an established, multi-year contractual

  relationship under which National Golf Schools provided golf instruction to

  USSOG customers on a subcontracting basis. National Golf Schools contends

  that it merely accepts referral customers and payment from USSOG at its offices




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  in Florida, and has happened to do so for each of the last few years. It is unclear

  which party initiated the relationship or how its terms came about.



        The limited evidence before the court is sufficient to support an inference

  of a regular course of dealing under a contract allocating revenue between the two

  sides. In July 2004, Livingston e-mailed USSOG in Indiana with National Golf

  Schools’ price list for golf packages for the upcoming golf season. Most important,

  the e-mail included a statement of the terms of USSOG’s referral discount. See

  Pl. Ex. B (Part 4). In October 2004, USSOG’s Crum sent an e-mail to Livingston

  asserting that the fee for USSOG had been and needed to be a higher percentage

  than Livingston had indicated. See Pl. Ex. B (Part 5). These communications tend

  to show that the parties had established a continuing business relationship

  pursuant to a contract and that both expected future customer referrals from

  USSOG to National Golf Schools. Livingston also testified that he and National

  Golf Schools generally communicated with USSOG in Indiana about eight to

  eleven times per year by e-mail, fax, or telephone concerning business. The

  parties have had this level of contact since at least 2002.



        The exercise of personal jurisdiction over these defendants is near the outer

  boundaries of due process, at least where the volume of business here was so

  modest in both absolute and relative terms. But the evidence of the defendants’

  continuing business relationship with USSOG is nevertheless sufficient to

  establish a prima facie case of specific jurisdiction in a suit arising from that


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  relationship. National Golf Schools’ contacts with Indiana were purposeful rather

  than random or fortuitous, and gave it fair warning that it could be subject to suit

  in Indiana for disputes arising from those contacts. See Burger King, 471 U.S.

  at473 (“[W]e have emphasized that parties who ‘reach out beyond one state and

  create continuing relationships and obligations with citizens of another state’ are

  subject to regulation and sanctions in the other State for the consequences of

  their activities.”), quoting Travelers Health Ass’n v. Virginia, 339 U.S. 643, 647

  (1950); Purdue Research, 338 F.3d at 785 (finding personal jurisdiction over

  defendant’s predecessor to cooperative research agreement because the agreement

  clearly “envisioned continuing and wide-reaching contacts” between the parties),

  quoting Burger King, 471 U.S. at 480.



        Further, USSOG alleges that defendants committed fraud, tortious

  interference, false advertising, and unfair competition. The Seventh Circuit has

  held that a defendant alleged to have committed a tort is subject to personal

  jurisdiction in the state where the plaintiff experienced the injury. See Janmark,

  Inc. v. Reidy, 132 F.3d 1200, 1202 (7th Cir. 1997) (in tortious interference suit,

  Illinois court could exercise jurisdiction over California defendant who made

  threatening telephone call to Illinois plaintiff’s customer in New Jersey, causing

  injury in Illinois); see also Calder v. Jones, 465 U.S. 783, 788-89 (1984) (finding

  jurisdiction constitutional in state where libelous article, written by non-residents,

  was published); Indianapolis Colts, Inc. v. Metropolitan Baltimore Football Club, 34

  F.3d 410, 411-12 (7th Cir. 1994) (in trademark infringement suit, finding


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  jurisdiction proper in plaintiff’s home state of Indiana though defendant planned

  to operate football team in Maryland). Here, USSOG alleges that its business has

  been injured as a result of National Golf Schools’ fraud and false advertising to its

  referred customers. Much like the plaintiff in Janmark, any loss USSOG may be

  able to prove to its reputation or customer goodwill will have occurred in Indiana.3



        In arguing against jurisdiction, defendants point out that they never once

  visited USSOG in Indiana. However, even without physical presence in a state,

  wire and mail communication may establish minimum contacts, especially as part

  of an interstate commercial contract. See Purdue Research, 338 F.3d at 781 (“If,

  for example, a commercial defendant’s efforts are directed toward a particular

  jurisdiction, the fact that the actor did not actually enter the jurisdiction is not of

  crucial importance.”), citing Calder, 465 U.S. at 788-89, and Burger King, 471 U.S.

  at 476; Heritage House Restaurants, Inc. v. Continental Funding Group, Inc.,

  906 F.2d 276, 283 (7th Cir. 1990) (observing defendant “created a relationship

        3
          Judge Pallmeyer noted in Clearclad Coatings, Inc. v. Xontal Ltd., 1999 WL
  652030, *19-21 (N.D. Ill. Aug. 20, 1999), that some district courts have looked for
  additional contacts with the forum state to approve jurisdiction under the
  Janmark rule. However, the similarity between the type of injury alleged in
  Janmark and the injury alleged by USSOG weighs in favor of applying Janmark
  here. As in Janmark, the plaintiff’s claims stem from defendants’ contacts with
  plaintiff’s customers out of state. The alleged business injury to the plaintiff is
  indirect and therefore did not necessarily occur at the same location as
  defendant’s contact with customers. The case for jurisdiction here is somewhat
  stronger than in Janmark because the alleged wrongs stemmed from a
  relationship that originated in Indiana, as USSOG referred the customers to
  National Golf Schools and collected and sent payments in and from Indiana.
  Moreover, because this case involves both contractual and tort claims, the court
  need not rely solely on Janmark to support a finding that defendants are subject
  to jurisdiction in Indiana.

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  which is naturally based on telephone and mail contacts rather than physical

  presence, and it should not be able to avoid jurisdiction based on that

  distinction”); accord, Burger King, 471 U.S. at 476 (“a substantial amount of

  business is transacted solely by mail and wire communications across state lines,

  thus obviating the need for physical presence within a State in which business is

  conducted”).



        In deciding that defendants have sufficient contacts with Indiana to support

  specific jurisdiction in this case, the court does not rely on any contacts between

  National Golf Schools and Indiana residents through its website. The Seventh

  Circuit held recently that the maintenance of a “passive” website does not subject

  a corporation to personal jurisdiction in a particular forum simply because the

  website can be accessed from there. Jennings v. AC Hydraulic A/S, 383 F.3d 546,

  549-50 (7th Cir. 2004). In Jennings, the court characterized the defendant’s

  website as passive because it provided only contact information and descriptions

  of its various product lines, but did not enable customers to order products

  online. The court left open the question of “what level of ‘interactivity’ is sufficient

  to establish personal jurisdiction based on the operation of an interactive website.”

  Id. at 549; see also, e.g., Edelson v. Ch’ien, 352 F. Supp. 2d 861, 868-69 (N.D. Ill.

  2005) (website posting press release with e-mail link to contact company was not

  sufficiently interactive to support specific jurisdiction in suit for tortious

  interference caused by press release); Haggerty Enterprises, Inc. v. Lipan Indus.

  Co., 2001 WL 968592, *6 (N.D. Ill. Aug. 23, 2001) (website that listed no prices


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  and did not offer direct sales, but did allow users to contact defendant through its

  website for more information, did not support jurisdiction).



        In this case, it is unclear how passive or interactive National Golf Schools’

  website is. Livingston testified that customers would at least have to “call through

  to complete the order” for on-line sales. See Livingston Dep. at 35. The mere

  availability of products and services to Indiana residents on an otherwise passive

  website does not support jurisdiction, at least where there is no evidence that

  Indiana residents are themselves purposefully targeted. See, e.g., Jackson, 2005

  WL 2850116, *5-6. The single testimonial by an Indiana customer, among many

  other testimonials by customers from all over the country, does not amount to

  purposeful targeting. Therefore, National Golf Schools’ website does not itself

  constitute a purposeful availment of Indiana business sufficient to establish

  personal jurisdiction.



        With respect to jurisdiction over Livingston, defendants have not put forth

  any evidence indicating that Livingston was not involved in the acts that have

  been found to constitute minimum contacts for National Golf Schools. Instead,

  the evidence and allegations before the court show that Livingston is an owner

  and head instructor in National Golf Schools, and that he has personally

  communicated with USSOG in Indiana by telephone, e-mail, and fax about their

  business relationship. Although it is generally true that the minimum contacts

  of a corporation cannot be imputed to an owner for purposes of establishing


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  jurisdiction, Interlease Aviation Investors v. Vanguard Airlines, Inc., 262 F. Supp.

  2d 898, 908-09 (N.D. Ill. 2003), plaintiffs have alleged, and have supporting

  evidence, that Livingston personally engaged in the same Indiana contacts as the

  corporations. Thus, he also had fair warning that he could be subject to suit in

  Indiana in a dispute arising from those contacts.4



        Where sufficient contacts are present, defendants can escape jurisdiction

  only by making a compelling case that forcing them to litigate in the forum state

  would be so unreasonable as to violate traditional notions of fair play and

        4
          Although Livingston does not explicitly invoke it, the court is aware of the
  equitable “fiduciary shield” doctrine which can prohibit a state’s exercise of
  personal jurisdiction over an individual if the only bases for jurisdiction are
  actions taken on behalf of an employer or other principal. In 1993, Judge
  McKinney observed that many courts had rejected that doctrine, reasoning that
  the Supreme Court’s decision in Calder v. Jones implicitly rejected the doctrine as
  a requirement of federal due process. See Intermatic, Inc. v. Taymac Corp., 815 F.
  Supp. 290, 293-96 (S.D. Ind. 1993). Judge McKinney also noted that the Indiana
  Supreme Court had not yet addressed whether the doctrine was required by the
  state’s long-arm statute. Id. at 294. He noted that the Indiana Court of Appeals
  had applied the doctrine in Ryan v. Chayes Virginia, Inc., 553 N.E.2d 1237, 1239
  (Ind. App. 1990), but he determined that the Indiana Supreme Court would not
  likely follow that decision because of the doctrine’s flaws, unworkability, and
  potential conflict with the understanding that Indiana’s long-arm statute extended
  personal jurisdiction to the full limits of federal due process. Intermatic, 815 F.
  Supp. at 296; cf. Rollins v. Ellwood, 565 N.E.2d 1302, 1313-18 (Ill. 1990) (adopting
  fiduciary shield doctrine as a matter of Illinois constitutional due process and
  Illinois long-arm statute).

         Since Intermatic, the Indiana long-arm statute has once again been extended
  to the constitutional limits. See supra note 2. In addition, since 1993, neither the
  Indiana Supreme Court nor the Court of Appeals has applied the fiduciary shield
  doctrine in any published decisions. The court therefore agrees with Judge
  McKinney that Ryan is not persuasive on this point. See also Health Mgmt.
  Professionals Inc. v. Diversified Business Enterprises, Inc., 882 F. Supp. 795, 799
  (S.D. Ind. 1995) (Barker, J.) (citing Intermatic in refusing to apply fiduciary shield
  doctrine to insulate defendant corporate officer from personal jurisdiction).

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  substantial justice. Burger King, 471 U.S. at 477; Logan Productions, 103 F.3d at

  53. In making this determination, courts are to consider (1) the burden on the

  defendant; (2) the forum state’s interest in adjudicating the dispute; (3) the

  plaintiff’s interest in obtaining the most efficient resolution of the controversies;

  (4) the interstate judicial system’s interest in obtaining the most efficient

  resolution of controversies; and (5) the shared interest of the several states in

  furthering fundamental substantive social policies. Burger King, 471 U.S. at 466-

  67.



        Defendants have not submitted any evidence demonstrating that forcing

  them to litigate in this judicial district would violate traditional notions of fair play

  and substantial justice. Though it is always somewhat burdensome to defend a

  lawsuit away from one’s home state, it is not a burden that violates due process

  in this instance. See Burger King, 471 U.S. at 474 (explaining that modern

  transportation and communications mean it is usually not unfair or too

  burdensome to require a party to defend itself in a state where it engages in

  economic activity); Logan Productions, 103 F.3d at 54; see also Board of Trustees,

  Sheet Metal Workers’ Nat’l Pension Fund v. Elite Erectors, Inc., 212 F.3d 1031, 1037

  (7th Cir. 2000) (“Easy air transportation, the rapid transmission of documents,

  and the abundance of law firms with nationwide practices, make it easy these

  days for cases to be litigated with little extra burden in any of the major

  metropolitan areas.”).




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        Moreover, the plaintiff, an Indiana corporation, has an interest in obtaining

  convenient and effective relief. See Burger King, 471 U.S. at 482-83. And Indiana

  has an interest in adjudicating a dispute involving the treatment of an Indiana

  corporation and its Indiana customers. See Anthem, 730 N.E.2d at 1240 (“Indiana

  has an interest in seeing its residents and corporations protected from fraud.”).

  In light of the substantial connection between USSOG’s claim and defendants’

  purposeful contacts with this forum, and the absence of a showing of prejudice

  to defendants in appearing here, the exercise of personal jurisdiction is proper in

  this judicial district.




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  II.   Venue


        The defendants have also moved to dismiss for improper venue pursuant to

  Federal Rule of Civil Procedure 12(b)(3). Because neither side has requested an

  evidentiary hearing on the facts relevant to venue, the court accepts USSOG’s

  unchallenged allegations and evidence as true. See Moore v. AT&T Latin America

  Corp., 177 F. Supp. 2d 785, 788 (N.D. Ill. 2001).



        USSOG claims that venue is proper in this district pursuant to 28 U.S.C.

  § 1391(b) and (c). Section 1391(b) governs venue in federal question cases, which

  may be brought only in:


        (1) a judicial district where any defendant resides, if all defendants reside
        in the same State, (2) a judicial district in which a substantial part of the
        events or omissions giving rise to the claim occurred, or a substantial part
        of the property that is the subject of the action is situated, or (3) a judicial
        district in which any defendant may be found, if there is no district in which
        the action may otherwise be brought.


  Section 1391(c) states that a corporation is deemed to reside in any judicial

  district in which it is subject to personal jurisdiction at the time the action is

  commenced. Because National Golf Schools is subject to personal jurisdiction in

  Indiana in this action, it is regarded as residing in this district under § 1391(c).

  Livingston, however, resides only in Florida. Because not all defendants reside in

  Indiana, venue is not proper in this judicial district under § 1391(b)(1).




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        The basis for venue in this district is § 1391(b)(2), which allows venue here

  if “a substantial part of the events or omissions giving rise to the claim” occurred

  in Indiana. This rule, like its parallel provision for diversity jurisdiction cases in

  § 1391(a)(2), does not require that the majority of events giving rise to the claim

  occurred in the forum district, but only that a substantial part of the events took

  place there. Eli Lilly & Co. v. Crabtree, 2004 WL 828247, *8 (S.D. Ind. Mar. 19,

  2004) (concluding that “the rule does not require a venue to be the location of the

  ‘most substantial’ or even the ‘more substantial’ part of the events”); see also

  Pasulka v. Sykes, 131 F. Supp. 2d 988, 994 (N.D. Ill. 2001). Accordingly, venue

  under § 1391(b)(2) may be proper in more than one judicial district. TruServ

  Corp. v. Neff, 6 F. Supp. 2d 790, 792 (N.D. Ill. 1998); Enviroplan, Inc. v. Western

  Farmers Electric Cooperative, 900 F. Supp. 1055, 1062 (S.D. Ind. 1995).            To

  consider events “substantial” under the statute, it is sufficient to establish that

  events occurring in the forum district were part of the “historical predicate” of the

  claim. See Master Tech Products, Inc. v. Smith, 181 F. Supp. 2d 910, 914 (N.D. Ill.

  2002).



        Under this standard, venue is proper in this judicial district. USSOG’s

  basic complaint is that defendants accepted referrals and payments from USSOG

  for golf instruction and failed to fulfill those reservations. USSOG alleges that

  defendants’ actions breached the parties’ interstate contract and amounted to

  tortious conduct, requiring USSOG to refund payments in Indiana and otherwise

  injuring its business in Indiana.


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         Defendants present the same arguments against venue as against personal

  jurisdiction. They contend that venue is proper only in Florida because most of

  the communications between the parties were from Indiana to Florida and that

  National Golf Schools’ business and website are run out of Florida.



         A proper venue inquiry looks not to the defendant’s contacts with the forum,

  but rather to the location of the events giving rise to the cause of action. See

  Master Tech Products, 181 F. Supp. 2d at 914. The events giving rise to this case

  include defendants’ acceptance of USSOG’s referrals from Indiana and the alleged

  business injury to USSOG in Indiana. Cf. Hispec Wheel & Tire, Inc. v. Tredit Tire &

  Wheel Co., Inc., 2005 WL 1983846, *7 (N.D. Ind. Aug. 11, 2005) (finding venue

  proper in plaintiff’s home state for fraud claim because plaintiff’s reliance and

  detrimental effects of reliance occurred there). Thus, a substantial part of the

  events giving rise to this action occurred in Indiana, and venue is proper in this

  district.



  III.   Livingston’s Rule 12(b)(6) Motion


         Defendant Livingston has moved to dismiss the claims against him for

  failure to state a claim upon which relief can be granted, pursuant to Federal Rule

  of Civil Procedure 12(b)(6). The court may dismiss a claim under Rule 12(b)(6)

  only where it is clear that “no relief could be granted under any set of facts that

  could be proved consistent with the allegations.” Hishon v. King & Spalding, 467



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  U.S. 69, 73 (1984) (reversing dismissal); Conley v. Gibson, 355 U.S. 41, 45-46

  (1957) (reversing dismissal). In deciding such a motion, the court must assume

  as true all well-pleaded facts set forth in the complaint, construing the allegations

  liberally and drawing all inferences in a light most favorable to the plaintiff.

  Forseth v. Village of Sussex, 199 F.3d 363, 368 (7th Cir. 2000). Under the liberal

  notice pleading standard in federal civil actions, a plaintiff need not allege facts

  or legal theories, but may describe its claim briefly and simply. Shah v. Inter-

  Continental Hotel Chicago Operating Corp., 314 F.3d 278, 282 (7th Cir. 2002)

  (reversing dismissal).    A plaintiff is entitled to the benefit not only of its

  allegations, but of any other facts it might assert that are not inconsistent with its

  allegations. Thus, in responding to a motion to dismiss, a plaintiff may assert new

  facts in its brief. So long as they are not inconsistent with the complaint, the

  court must assume they are true for purposes of deciding the motion. See, e.g.,

  Forseth, 199 F.3d at 368 (reversing in part a dismissal on the pleadings);

  Trevino v. Union Pacific Railroad Co., 916 F.2d 1230, 1239 (7th Cir. 1990)

  (reversing dismissal).



        Livingston is generally correct that he cannot be held liable for the alleged

  wrongful acts of a corporation of which he is either an officer or owner, absent

  some allegations of individual wrongdoing.           However, USSOG’s amended

  complaint is sufficient to allege individual wrongdoing.




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        USSOG names Livingston as a party, both individually and in his capacity

  as Chief Executive Officer of National Golf Schools. Throughout its complaint,

  USSOG refers to acts committed by “Defendants” in the plural. USSOG’s response

  brief states that Livingston “personally committed the acts at issue.” See Pl. Resp.

  Br. at 11. Construing USSOG’s allegations liberally, as the court must at this

  stage, the complaint sufficiently alleges that Livingston was personally involved

  in the various acts giving rise to USSOG’s claims.        See Palmer v. Board of

  Education of Comm. Unit School Dist., 46 F.3d 682, 688 (7th Cir. 1995) (reversing

  dismissal as to individual defendants where complaint only pled facts as to

  collective conduct); accord, State Civil Rights Comm’n v. County Line Park, Inc.,

  738 N.E.2d 1044, 1050-51 (Ind. 2000) (reversing dismissal of individual defendant

  not specifically mentioned in body of complaint where complaint alleged actions

  by “defendants”). The question is whether personal involvement could expose

  Livingston to liability under any facts on any count in the complaint.



        USSOG’s amended complaint includes six counts:           false advertising in

  violation of the Lanham Act, common law unfair competition, breach of contract,

  tortious interference, unjust enrichment, and fraud. No set of facts could support

  a breach of contract claim against Livingston in his personal capacity. USSOG

  entered into a contract, if any, with National Golf Schools. Under Indiana law,

  corporate officers and shareholders are generally not liable for the contractual

  obligations of the corporation, because only the corporation has agreed to perform

  the obligations of the agreement.      See Winkler v. V.G. Reed & Sons, Inc.,


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  638 N.E.2d 1228, 1231 (Ind. 1994). While there are exceptions to this general

  rule, permitting courts to pierce the proverbial corporate veil where the corporate

  form is ignored or manipulated or is used to carry out a fraud, see id., USSOG has

  not tried to argue that any exception might apply here.



        The remaining counts are best characterized as actions in tort. Livingston

  could be held jointly liable under USSOG’s federal false advertising claim. See

  15 U.S.C. § 1125(a)(1) (creating liability under Lanham Act for “any person” who

  “uses in commerce” false or misleading facts); AT&T Co. v. Winback and Conserve

  Program, Inc., 42 F.3d 1421, 1428-33 (3d Cir. 1994) (noting that the Lanham Act

  “federalizes a common law tort” and applying basic agency principles in

  determining alleged principal’s liability under §1125(a) for actions of agents with

  apparent authority).



        With respect to USSOG’s state tort claims, the Indiana Supreme Court has

  stated: “It is true that an officer of a corporation is generally not personally liable

  for the torts of the corporation or other officers or agents merely because of her

  office. However, an officer is personally liable for the torts in which she has

  participated or which she has authorized or directed.” State Civil Rights Comm’n,

  738 N.E.2d at1050 (internal citations omitted) (reversing dismissal of claims that

  individual defendants participated in illegal discrimination); see also McDonald v.

  Smart Prof. Photo Copy Corp., 664 N.E.2d 761, 764 (Ind. App. 1996) (“An agent

  who fraudulently represents, uses duress, or knowingly assists in the commission


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  of fraud or duress by his principal is subject to liability in tort to any injured third

  party.”). USSOG’s complaint sufficiently alleges that Livingston either participated

  in, authorized, or directed the acts that give rise to its tort claims.          These

  allegations are sufficient to defeat Livingston’s Rule 12(b)(6) motion to dismiss on

  the remaining counts.5



        Accordingly, defendants’ motion to dismiss is denied in all respects, except

  that the breach of contract claim is dismissed as against Livingston.



        So ordered.


  Date: November 10, 2005
                                                  DAVID F. HAMILTON, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana

        5
         USSOG’s unjust enrichment count seeks an equitable remedy that cannot
  be characterized readily as either contract or tort. To prevail on a claim of unjust
  enrichment under Indiana law, “a plaintiff must establish that a measurable
  benefit has been conferred on the defendant under such circumstances that the
  defendant’s retention of the benefit without payment would be unjust.” Bayh v.
  Sonnenburg, 573 N.E.2d 398, 408 (Ind. 1991). This remedy is quasi-contractual
  and is available only when there is no contract in the true sense. Wenning v.
  Calhoun, 827 N.E.2d 627, 629 (Ind. App. 2005).

         It is not clear to the court that there are no factual scenarios in which
  USSOG could prove such a claim against Livingston personally. The Seventh
  Circuit has repeatedly cautioned district judges not to be too quick to grant
  dismissals based on pleadings. E.g., Scott v. City of Chicago, 195 F.3d 950, 951-52
  (7th Cir. 1999) (reversing dismissal); Cook v. Winfrey, 141 F.3d 322, 328 (7th Cir.
  1998) (reversing in part dismissal and noting that defendant’s and district court’s
  “entire argument strays rather far afield from the minimal requirements of federal
  notice pleading”); Jackson v. Marion County, 66 F.3d 151, 154 (7th Cir. 1995)
  (reversing dismissal). In addition, Livingston offers no argument specific to this
  count, so it also survives dismissal at this stage.

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